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UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
CHAMBERS OF U.S. COURTHOUSE
CATHERINE C. BLAKE 101 WEST LOMBARD STREET
UNITED STATES DISTRICT JUDGE BALTIMORE, MARYLAND 21201

(410) 962-3220
Fax (410) 962-6836

March 5, 2020

MEMORANDUM TO COUNSEL

Re: United States v. Daniel Hersl
Criminal No. CCB-17-0106

 

Dear Counsel:

In response to defense counsel’s letter dated January 13, 2020 (ECF 543),
permission to send protected discovery material to Daniel Hersl is Denied.

Despite the informal nature of this ruling, it shall constitute an Order of

Court, and the Clerk is directed to docket it accordingly.

Sincerely yours,

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Catherine C. Blake
United States District Judge
